
PER CURIAM.
Affirmed. See Gibson v. Fla. Dep’t. of Corr., 885 So.2d 376 (Fla.2004); Duncan v. Moore, 754 So.2d 708 (Fla.2000); Dowdy v. Singletary, 704 So.2d 1052 (Fla.1998); Hughes v. State, 22 So.3d 132 (Fla. 2d DCA 2009); Waiter v. State, 965 So.2d 861 (Fla. 2d DCA 2007); Bizzell v. State, 912 So.2d 386 (Fla. 2d DCA 2005); Anderson *1210v. State, 862 So.2d 924 (Fla. 2d DCA 2003); Nedd v. State, 855 So.2d 664 (Fla. 2d DCA 2003); Dwyer v. State, 981 So.2d 606 (Fla. 4th DCA 2008).
KHOUZAM, MORRIS, and SLEET, JJ., Concur.
